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                       IN IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 BISHOP DAVID PAUL MOTEN,                   §
                                            §
       Plaintiff,                           §
                                            §
 vs.                                        §      Case No. 3:22-cv-00991-K
                                            §
 DEF JAM RECORDINGS, UMG                    §
 RECORDINGS, INC.,                          §
 YE f/k/a KANYE WEST, and                   §
 G.O.O.D. MUSIC                             §
                                            §
       Defendants.


   PLAINTIFF’S NOTICE OF DISMISSAL OF COMPLAINT WITHOUT PREJUDICE



TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff BISHOP DAVID PAUL MOTEN (“BISHOP MOTEN” or

“Plaintiff”) pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, and hereby dismisses

all causes of action in the complaint against Defendants WITHOUT PREJUDICE to refiling the

same. In support thereof, Plaintiff respectfully avers unto the Court as follows:

         Defendants Def Jam Recordings, UMG Recordings, Inc., YE f/k/a Kanye West and Getting

Out Our Dreams, Inc. have not been served in the instant action and have filed neither an answer to

the complaint nor a motion for summary judgment as to these claims. Consequently, Dismissal under

Rule 41(a)(1) is therefore appropriate.

        DATED: May 18, 2022.

                                                Respectfully submitted,

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